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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 2:20-CV-14159-ROSENBERG/MAYNARD


     DJ LINCOLN ENTERPRISES, INC.                  )
                                                   )
            Plaintiff,                             )
                                                   )
     v.                                            )
                                                   )
                                                   )
     GOOGLE, LLC                                   )
                                                   )
            Defendant.                             )
                                                   )


          PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
           DEFENDANT’S MOTION FOR FEES ON APPEAL
            Plaintiff, DJ Lincoln Enterprises, Inc. (“Lincoln” or “Plaintiff”), by counsel,

     pursuant to Local Civil Rule 7.1(c), respectfully submits this Memorandum in Opposition

     to Google, LLC’s (“Google”) motion for attorney’s fees on appeal. [ECF No. 68].

            In response to Google’s motion for fees on appeal, Lincoln repeats the arguments

     it raised in its opposition to Google’s motion for fees in the District Court. [ECF No. 57].

     The rates charged by Google’s four (4) appellate lawyers are astronomical and punitive.

     Google can pay these rates. It has unlimited resources. The only reasonable rate charged

     on appeal is the rate charged by Mr. Berman. The number of hours devoted by the four

     (4) Google lawyers to the appeal – an appeal that Google repeatedly calls “meritless” – is

     incredible and unreasonable under the circumstances. Google claims that it spent a total

     of 87.5 hours “brief writing”. That amounts to 10.94 eight (8) hour work days. That is

     patently excessive and unreasonable. Google also makes no attempt to allocate and


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     apportion the number of hours spent on those portions of its brief that relate to the Florida

     RICO and FUDPTA claims. Instead, Google simply slashes its bloated bill in half and

     suggests to the Court that that approach is “conservative”. Google’s failure to allocate or

     apportion recoverable from unrecoverable attorney’s fees precludes the Court from

     awarding any fees. Manufacturing Automation and Software Systems, Inc. v. Hughes, 833

     Fed.Appx. 147, 149 (9th Cir. 2021) (“the district court appropriately exercised its

     discretion in denying Huysentruyt’s motion for attorney’s fees based on his failure to

     apportion fees related to the breach-of-contract claim”) (citation omitted); In re Kincaid,

     445 B.R. 731, 742-743 (N.D. Tex. 2011) (refusal to award fees for failure to allocate);

     Fair Hous. Council v. Landow, 999 F.2d 92, 97-09 (4th Cir. 1993) (overturning attorney's

     fee award of $20,000 due to failure to allocate); Ralston Oil and Gas Co. v. Gensco, Inc.,

     706 F.2d 685, 697 (5th Cir. 1983) (“No apportionment or break-down of the fees for the

     attorney who participated in both parts of this case was provided. No weeding-out of the

     overlap was provided. It is therefore necessary that this portion of the case be remanded

     and that the attorneys’ fees awarded for prosecution of the sworn account be

     distinguished from those applicable to the defense of the Ralston suit.”).

                        CONCLUSION AND REQUEST FOR RELIEF

            For the foregoing reasons, Lincoln respectfully requests the Court to deny

     Google’s motion for fees on appeal.



     DATED:         April 11, 2022




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                               CERTIFICATE OF SERVICE

           I hereby certify that on April 11, 2022 a copy of the foregoing was filed

     electronically using the Court’s CM/ECF system, which will send notice of electronic

     filing to counsel for the Defendant and all interested parties receiving notices via

     CM/ECF.



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